Case 3:16-cv-00544-MAB Document 51-1 Filed 12/14/16 Pagelof2 Page ID #227

 

Tolbert, Carla

From: Falica, Steve <

Sant: Monday, November 21, 2016 8:52 AM

To: Tolbert, Carla

Subject: RE: Subpoena $02006 - Armbruster, Gerry - File# 041402/19344 - Court #3:16-

cv-00544-MJR-SCW

We are in receipt of your subpoena regarding Inmate (S02006 Armbruster, Gerry). File #041402/19344/TPD, we do not
have any grievances or responses in the Master File.

Thank you

Steve Falica

Office Administrator Ill, Record Office
Taylorville Correctional Center
Office: 217-824-4004 ext. 5524

Fax: 217-824-4094

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EXHIBIT

BR
Case 3:16-cv-00544-MAB Document 51-1 Filed 12/14/16 Page 2of2 Page ID #228

Tolbert, Carla
oe ee ees
To:

Subject: RE: Gerry Armbruster, #S02006-~ Grievancd Records Request

From: Rees, Lori A. (nal .
Sent: Wednesday, November 30, 2016 i0:i4 AM

To: Janini, Michele
Subject: RE: Gerry Armbruster, #502006 - Grievance Records Request

Michele,

We do not have this offender in our custody, nor his records. You will need to direct your subpoena to Taylorville
Correctional Center

Thanks.

Lori Rees

Record Office Supervisor

Southwestern Illinois Correctional Center
950 Kingshighway

East St. Louis, IL 62203

618-394-2200 x375

618-394-2228 - Fax

From:

Sent: Wednesday, November 30, 2016 10:03 Aivi

To: Rees, Lori A.

Subject: [External] Gerry Armbruster, #802006 - Grievance Records Request

Lori,
Per our conversation, attached please find the grievance records request for Gerry Armbruster, #502006. Please let me
know if you have any questions or need any further information.

Thanks,
Michele

Cassiday Schade LLP | Phone: 314.241.1377 | Fax: 314.241.1320
100 N. Broadway, Suite 1580, St. Louis MO 63102 | www.cassiday.com

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